         Case: 3:22-cv-00100-MJN-CHG Doc #: 1-2 Filed: 04/14/22 Page: 1 of 2 PAGEID #: 9

                                   SUPPLEMENTAL CIVIL COVER SHEET
                                 FOR CASES REMOVED FROM STATE COURT

                            This form must be attached to the Civil Cover Sheet at the time
                                   the case is filed in the United States District Court


                    Montgomery
State Court County: _______________________________________

Case number and caption:

  2022 CV 01134                                       Olwin Metal Fabrication                             MultiCam Inc.
  _________________                                  _________________                     vs             _________________
        Case Number                                          Plainfiff(s)                                      Defendant(s)



Jury Demand Made in State Court:                                                                              Yes         ✘    No

If “Yes,” by which party and on what Date:


    _____________________________________                                              _________________
                             Party                                                                Date



Were there parties not served prior to removal?                                                               Yes         ✘    No

Were there parties dismissed/terminated prior to removal?                                                     Yes         ✘    No

Were there answers filed in State Court?                                                                      Yes         ✘    No

Is there a pending TRO in State Court?                                                                        Yes         ✘    No



If you have answered “yes” to any of the above please list parties not served, the parties dismissed/terminated and the parties
that filed their answers on the reverse of this page.

On the reverse of this page please list all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
Third Party Claimant(s) still remaining in the case and indicate their party type. Please list the attorney(s) of record for each
party named and include their bar number, firm name, correct mailing address and phone number, including area code.



Are copies of all state case pleadings attached to your removal?                                      ✘       Yes              No

If your answer is “No”, when will they be filed:                         _________________________________________

List the parties that are removing the case:
___________________________________________
 MultiCam Inc.                                                              ______________________________________
___________________________________________
 MultiCam    Great Lakes Inc. by consent                                    ______________________________________
___________________________________________                                 ______________________________________




                                                                   -1-
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        Parties Not Served                        Parties Dismissed                                Answers Filed

I.E. Defendant John Doe                  I.E. Defendant John Doe                       I.E. Defendant John Doe




                     Party and Type                                                      Attorney(s)

I.E.   Plaintiff John Doe                                         I.E.   Attorney(s) Name
                                                                         Firm
 Plaintiff Olwin Metal Fabrication LLC                                   Address
 Defendant MultiCam Inc.
                                                                         City, State, Zip
                                                                         Telephone and Fax Number
 Defendant MultiCam Great Lakes, Inc. d/b/a MultiCam Ohio                Supreme Court Number
 Valley Technology Center
                                                                  Richard L. Carr
                                                                  David M. Rickert
                                                                  Auman, Mahan & Furry
                                                                  110 N. Main Street., Suite 100
                                                                  Dayton, Ohio 45402-1739
                                                                  Phone: 937-223-6003
                                                                  Fax: 937-223-8550
                                                                  Court No. 0003180
                                                                  Court No. 0010483

                                                                  Kelly E. Mulrane
                                                                  Benesch Friedlander Coplan & Aronoff
                                                                  41 S. High Street, Suite 2600
                                                                  Columbus, OH 43215
                                                                  Phone: 614-223-9318
                                                                  Fax: 614-223-9330
                                                                  Court No. 0088133


                             USE A SEPARATE SHEET OF PAPER IF NECESSARY

                                                            -2-
